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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

IN RE BANC OF CALIFORNIA                        Case No. 0:18-mc-00076
SECURITIES LITIGATION
                                                CASE NO. SACV 17-00118 AG (DFMx)
                                                consolidated with
                                                SACV 17-00138 AG (DFMx)
                                                Pending in the Central District of California

TO:    District Clerk of Court and Counsel of Record.

       PLEASE TAKE NOTICE that Aaron G. Thomas of Briggs and Morgan, P.A., 2200 IDS

Center, 80 South Eighth Street, Minneapolis, Minnesota 55402, hereby appears as counsel of

record for Respondents Castalian Partners Value Fund LP and James Gibson.


Dated: September 13, 2018                       BRIGGS AND MORGAN, P.A.

                                                By:    s/ Aaron G. Thomas
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                                                Castalian Partners Value Fund LP
                                                and James Gibson
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 13th day of September, 2018, I caused to be

electronically filed the foregoing Notice of Appearance of Aaron G. Thomas with the Clerk of

Court through the CM/ECF system. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing systems. Parties may access the filings through the Court’s

CM/ECF system.

                                           s/ Aaron G. Thomas
                                           Aaron G. Thomas
